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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRIAN LANDAU,                            :
                                         :
      Plaintiff,                         :   Civil Action No. 3:15-CV-1327
                                         :
      v.                                 :   (Judge Mariani)
                                         :
MARIROSA LAMAS, et al.,                  :   (Magistrate Judge Carlson)
                                         :
      Defendants                         :

    DEFENDANTS’ JOINT BRIEF IN OPPOSITION TO PLAINTIFF’S
               MOTION IN LIMINE (CONSENT)

                                BACKGROUND

      Plaintiff is Brian Landau, an inmate incarcerated within the Pennsylvania

Department of Corrections (DOC). Remaining DOC Defendants are 6 present or

former corrections officers.   Separate remaining Defendant Zong is a former

corrections officer. Plaintiff’s remaining claims stem from alleged sexual abuse by

Zong from October 2013 to May 2014.

      Plaintiff’s credibility will be an important issue at trial where he claims he

was abused and raped by Zong and DOC Defendants were aware of such abuse

and did nothing to protect him. Zong and DOC Defendants deny Plaintiff’s claims

of sexual abuse, rape and awareness, etc.       Additionally, Defendants contend

Plaintiff consented to any sexual activity that occurred between he and Zong.
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      Consistent with the rules of evidence, Defendants seek the Court to permit

the introduction of certain evidence by Defendants, Plaintiff’s consent to sexual

relations with Zong and his description of their relationship and his feelings.

                                   ARGUMENT

The Court should permit Defendants to introduce evidence of Plaintiff’s
consent to sexual relations with Zong and his description of their relationship
and his feelings.

      Plaintiff seeks to preclude introduction of evidence concerning Plaintiff’s

consent to sexual relations with Zong, his description of their relationship, his

feelings and the affirmative defense of consent. In support of precluding consent

and related evidence, Plaintiff cites to the Sharkey case. E.D. v. Sharkey, 928 F.3d

299 (3d Cir. 2019).      Defendants read Sharkey differently.       Sharkey actually

supports Defendants’ view that the issue of consent is factual and a question for the

jury. Especially when reviewing the filings and opinion in the lower court.

      In Sharkey, E.D., an immigration detainee, filed suit against Sharkey, the

Center, the County and other individual employees due to sexual relations between

E.D. and Sharkey. Defendants moved for summary judgment. The District Court

granted in part and denied in part.      Defendants filed an interlocutory appeal

challenging the District Court's conclusion that E.D. pled the violation of a known

constitutional right, that the BCRC employees and supervisor were not entitled to

qualified immunity, and that a factfinder could reasonably find Berks County liable


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for Sharkey's conduct. The Third Circuit affirmed. E.D. v. Sharkey, 928 F.3d 299

(3d Cir. 2019).

      The Third Circuit analyzed the qualified immunity argument and stated the

right to "not be sexually assaulted by a state employee while in confinement" was

clearly established at the time of Sharkey's conduct. Id. The decision also stated

“We agree with the District Court that the evidence regarding whether the sexual

intercourse was consensual "presents a sufficient disagreement to require

submission to a jury," and therefore constitutes a genuine dispute of material fact.

Id. The Court also stated “However, given the findings of the District Court, … ,

we question whether the issue of consent will be deemed relevant at trial. The

Court found that E.D. was "detained" and that, under ICE policies and standards,

as well as Pennsylvania law, any sexual contact between a staff member and a

detainee constitutes sexual abuse regardless of consent. We find, therefore, the

Court's factual findings support its ruling that E.D. sufficiently pled a due process

rights violation by alleging she and Sharkey had sexual contact, notwithstanding its

finding that whether she consented to the contact is in dispute.” Id.

      The Third Circuit affirmed the denial of qualified immunity for the

individual Defendants and the denial of their motion for summary judgment and

remanded the case for trial so that the liability of the parties may be decided by a

factfinder. Id. Thus, the issue of the availability of a consent defense was not


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squarely before the Court nor specifically decided. However, the Court did note

the issue is for the jury or fact finder. Id. At most, the Court merely questioned

the relevance given the lower court’s findings.

      As far as the lower court’s findings, the decision reads “The motion for

summary judgment, insofar as it seeks to have judgment entered on behalf of the

County Defendants as to the plaintiff's failure to protect claim under the Fourteenth

Amendment to the United States Constitution, is DENIED because there are

genuine disputes as to material facts which preclude the entry of judgment as a

matter of law. E.D. v. Sharkey, 2018 U.S. Dist. LEXIS 241313 (E.D. Pa. March

27, 2018). In footnote 3 the lower court states “In accordance with Rule 56(a),

there are genuine issues of material fact concerning, inter alia, (1) whether the

plaintiff and Daniel Sharkey had a consensual sexual relationship. Id. In footnote

7, the lower court states “and (2) the issue of whether the plaintiff's relationship

with Daniel Sharkey was consensual raises a genuine issue of material fact.”. Id.

In sum, the Sharkey opinions do not support Plaintiff’s contention that consent is

precluded as a defense.

      The Third Circuit filed Sharkey on July 1, 2019. E.D. v. Sharkey, 928 F.3d

299 (3d Cir. 2019). On August 1, 2019, this Court adopted the Magistrate Judge’s

Report and Recommendation denying Defendants’ motion for summary judgment

that argued entitlement to judgment as a matter of law due to the overwhelming


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evidence of consent. Docket at 228. In doing so, the Court noted the R & R

concludes that the issue of consent in cases like this one is not a matter of law and

instead requires a trial. Docket at 228, p. 7. The Court also stated the R & R is

correct that the Third Circuit has not definitively ruled that consent is per se

unavailable as a defense to constitutional claims alleging sexual harassment or

abuse by an inmate against a prison employee. Docket at 228, p. 8. As explained

above, this Court’s ruling is consistent with Sharkey.

      Nothing has changed. There remains overwhelming evidence of Plaintiff’s

consent as well as his feelings and description of his relationship with Zong.

Docket at 177, Appendix Exhibits D, E, F, G, H, I, J, L, M, N, R, S, T, U, V and X.

The law provides consent is a defense to the constitutional claims. See, Phillips v.

Bird, 2003 U.S. Dist. LEXIS 22418 (D. Del. December 1, 2003)(Consensual sex

between two adults does not constitute cruel and unusual punishment simply

because it occurs within the walls of a prison.); Stubbs v. DeRose, 2007 U.S. Dist.

LEXIS 17830 (M.D. Pa. 2007)(cited to Philips stating consensual sex between two

adults does not constitute cruel and unusual punishment simply because it occurs

within the walls of a prison.). Thus, the question of consent relative to liability on

the constitutional claims is one for the jury.

      Additionally, the evidence that supports consent, feelings and relationship is

also relevant to damages. Plaintiff claims he suffered shame, humiliation, anxiety,


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anger, depression, etc. Docket at 88, pgs. 66-70. Defendants should be permitted

to present this evidence to the jury should they find liability and must assess

damages.

      Finally, consent is a defense to the state torts too. Plaintiff seeks to preclude

the defense of consent to the state tort claims citing to the Phillies case. C.C.H. v.

Phila. Phillies, Inc., 940 A.2d 336 (Pa. 2008). However, that case involved a

minor as victim and plaintiff. The Court stated “we conclude that, here the victim

is less than 13 years of age, evidence of the victim's consent to sexual contact, like

in criminal proceedings, is not an available defense in determining a defendant's

civil liability.” Id. Thus, Phillies does not preclude defense of consent in the case

at bar where Plaintiff was at all times relevant hereto an adult.

      Relatedly, consent and related evidence is pertinent to the quality of contact.

See, Montgomery v. Bazaz-Sehgal, 742 A.2d 1125, 1130 (Pa. Super. 1999).

Decidedly, no allegation of Assault Per Se or Battery Per Se (use of force or

violence to do injury) has been made. Thus, the evidence of consent, relationship

and Plaintiff’s statements regarding his feelings is relevant to nature and effect of

any contact that occurred between he and Zong. This is relevant not only to the

elements of assault and battery, but the defense of consent and any damages that

may be awarded.




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      More precisely, in a battery claim such as that at hand, there need

be no physical injury, but only some contact; the matter of permission goes to the

quality of the contact, and consent to being so touched is a defense. See generally,

Chandler v. Cook, 265 A.2d 794 (1970).

      Per Section 18 of the Restatement Of Torts, which pertains to Battery:

Offensive Contact,

(1) An actor is subject to liability to another for battery if

             (a) he acts intending to cause a harmful or offensive contact with the
                 person of the other or a third person, or an imminent apprehension
                 of such a contact, and

             (b) an offensive contact with the person of the other directly or
      indirectly results

      (2) An act which is not done with the intention stated in Subsection (1, a)
      does not make the actor liable to the other for a mere offensive contact with
      the other's person although the act involves an unreasonable risk of inflicting
      it and therefore, would be negligent or reckless if the risk threatened bodily
      harm.


      The Court has described Assault as an intentional attempt by force to do an

injury to the person of another, and a battery as committed whenever the violence

menaced in an assault is actually done, though in ever so small a degree, upon the

person. Renk v. City of Pittsburgh, 641 A.2d 289, 295 (Pa. 1994).

      “Implicit in the tort of battery is the recognition that an individual has a right

to be free from unwanted and offensive or harmful intrusions upon his own


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body. The tort of battery has traditionally been employed to redress this precise

grievance. The essence of the tort “consists in the offense to the dignity involved in

the unpermitted and intentional invasion of the inviolability of [the plaintiff's]

person....” Thus, the Restatement recognizes that an intrusion upon the plaintiff's

physical or personal dignity does occur where the defendant “throws a substance,

such as water, upon the [plaintiff] or if [the defendant] sets a dog upon him” even

though the defendant and plaintiff have not physically touched each other.” Herr v.

Booten, 580 A.2d 1115, 1117 (Pa. Super. 1990). Therefore, it is respectfully

submitted that Plaintiff’ motion must be denied.

                                              Respectfully submitted,

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      v.                                :   (Judge Mariani)
                                        :
MARIROSA LAMAS, et al.,                 :   (Magistrate Judge Carlson)
                                        :
      Defendants                        :

                          CERTIFICATE OF SERVICE

      I hereby certify that the within Brief has been filed electronically and is

available for viewing and downloading from the ECF system by Counsel for

Plaintiff and Counsel for Defendant Zong and therefore satisfies the service

requirements under Fed.R.Civ.P. 5(b)(2)(E); L.R. 5.7.

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Dated: January 22, 2021




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